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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BRITTNEY WRIGHT,                             )
Individually and on behalf of all others     )
similarly situated,                          )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Case: 1:22-cv-04927
                                             )
BUZZFEED, INC.,                              )       Judge: Hon. Sharon Johnson Coleman
d/b/a HUFFPOST.COM,                          )
                                             )
       Defendant.                            )


                                     NOTICE OF DISMISSAL
       Plaintiff files this dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Defendant has

neither answered nor filed a motion for summary judgment.

       Therefore, Plaintiff hereby dismisses this matter without prejudice.


Dated: January 20, 2023                      By: Brandon M. Wise
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                                             Adam Florek – IL Bar # 6320615
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                                   CERTIFICATE OF SERVICE
       The undersigned hereby certifies that the foregoing document was filed with the clerk of

the Court using the CM/ECF E-filing system, said system will allow for notice and access to all

parties of record.

                                        Brandon M. Wise




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